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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 11-60517-Civ-COOKE/TURNOFF

 ROBERT DENAULT, et al.,

        Plaintiffs
 vs.

 DHL INTERNATIONAL – BAHRAIN, et al.,

       Defendants.
 _________________________________________________/

                      ORDER ADMINISTRATIVELY CLOSING CASE

        THIS MATTER is before me upon an independent review of the record. Plaintiffs

 initiated this action against Defendants on March 10, 2011. The Defendants are comprised of

 corporations operating within the United States and foreign countries. More than 120 days have

 passed and Plaintiffs have failed to effectuate service of the Complaint on the U.S. corporate

 Defendants, and have failed to effectuated a reasonably calculated means of serving the foreign

 corporate Defendants as authorized by the Hague Convention on the Service Abroad of Judicial

 and Extrajudicial Documents. See Fed. R. Civ. P. 4(m), (f).

        Where a plaintiff fails to properly serve a defendant within 120 days, “the court, upon

 motion or on its own initiative after notice to the plaintiff, shall dismiss the action without

 prejudice, or direct that service be effected within a specified time; provided that the plaintiff

 shows good cause for the failure, the court shall extend the time for service for an appropriate

 period.” Lepone-Dempsey v. Carroll Cnty. Comm’rs, 476 F.3d 1277, 1281 (11th Cir. 2007).

 Although the 120-day requirement does not apply to service in a foreign country, “the amount of

 time allowed for foreign service is not unlimited.” Nylok Corp. v. Fastener World, Inc., 396

 F.3d 805, 807 (7th Cir. 2005). A plaintiff serving a foreign country “must still take some efforts
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 to attempt service, or face dismissal.” Plantation Gen. Hosp. L.P. v. Cayman Islands, No. 09-

 60884, 2010 WL 731853, at *1 (S.D. Fla. Feb 26, 2010).

        It is hereby ORDERED and ADJUDGED that this case is administratively CLOSED

 for statistical purposes only. Plaintiff shall show cause by September 6, 2011 why this action

 should not be dismissed without prejudice. This case shall be reopened upon proper proof that

 Defendants have been served with the Complaint.

        DONE and ORDERED in chambers at Miami, Florida this 31st day of August 2011.




 Copies furnished to:
 William C. Turnoff, U.S. Magistrate Judge
 Counsel of Record
